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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

NORTHERN DIVISION
MISSISSIPPI ASSOCIATION OF EDUCATORS, et al. PLAINTIFFS
v. CIVIL ACTION NO. 3:25-cv-00417-HTW-LGI

BOARD OF TRUSTEES OF STATE
INSTITUTIONS OF HIGHER LEARNING, et al. DEFENDANTS

ORDER GRANTING TEMPORARY RESTRAINING ORDER

BEFORE THIS COURT is the Plaintiffs! Joint Motion [ECF #11] seeking both a
Temporary Restraining Order (TRO) and a Preliminary Injunction to enjoin the enforcement of
various provisions of House Bill 1193 (“HB 1193”). This Order addresses only the Plaintiffs’
request for a TRO, a request emphasized during a hearing held on June 24, 2025. At that hearing,
this Court did not receive any live testimony or conduct an evidentiary examination; rather, this
Court heard arguments limited to counsels’ presentations and the existing written record,

consistent with the nature of a TRO proceeding.

‘The Amended Complaint names the following Plaintiffs:

Mississippi Association of Educators (“MAE”)

Barbara Phillips ~ Adjunct Professor of Law at the University of Mississippi School of Law

James Thomas ~ Associate Professor of Sociology at the University of Mississippi

Dawn Zimmerer — Administrative Librarian at Hinds Community College

L.E. JiBol — Parent of two public school students in Jackson Public Schools

United Campus Workers Southeast Local 3821 (“UCW”) — A union representing faculty, graduate
students, and staff

7. Madisyn Donley — Third-year law student at the University of Mississippi School of Law

8. Alexis Cobbs — Third-year law student at the University of Mississippi Schoo! of Law
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. Karen Aderer — Lecturer in Social Work at the University of Southern Mississippi
0. Fostering LGBTQ+ Advocacy, Resources, Environments (“FLARE”) — Student group at Mississippi State
University
11. Women in Science and Engineering (“WISE”) — Student group at the University of Southern Mississippi
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The defendants herein are: the Board of Trustees of State Institutions of Higher Learning
(“IHL”); Mississippi Community College Board; the Mississippi State Board of Education (“State

Board of Education”); and the Mississippi Charter School Authorizer Board.

A TRO is an emergency, short-term measure designed to preserve the status quo until a
comprehensive hearing can be held. See Granny Goose Foods, inc. v. Bhd. of Teamsters & Auto
Truck Drivers, 415 U.S. 423, 439 (1974) (TROs serve to maintain the status quo until the court
can hold a hearing on a preliminary injunction); Atchison, Topeka & Santa Fe Ry. Co. v. Lennen,
640 F.2d 255, 259 (10th Cir. 1981).

A Preliminary Injunction, by contrast, is a longer-term remedy designed to prevent
irreparable harm during the pendency of litigation. See University of Tex. v. Camenisch, 451 U.S.
390, 395 (1981) (the purpose of a preliminary injunction is to prevent irreparable harm before the
court can rule on the merits). While the TRO requires only a showing of immediate need for
temporary relief; a preliminary injunction typically follows an adversarial hearing with fuller
briefing and factual development.

Courts often analyze the two requests together when filed simultaneously, as the legal tests
for both a TRO and Preliminary Injunction are similar. Plaintiffs must show, by a preponderance
of the evidence: a substantial showing of likelihood of success; a likelihood of irreparable harm if
the injunction is not granted; a balance of hardships favoring the moving party; and that the
injunction serves the public interest. See Janvey v. Alguire, 647 F.3d 585, 595 (Sth Cir.
2011); Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 626 (Sth Cir. 1996) (courts evaluate both TRO
and preliminary injunction using the same four-prong test).

The procedural posture for each, however, differs. See, e.g., Cousins v. School Bd. of City

of Norfolk, 503 F.2d 422, 426-27 (4th Cir. 1974) (discussing interplay between TRO and
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preliminary injunction), The key procedural difference between a TRO and a Preliminary
Injunction lies in the timing and process leading to the issuance of each. A TRO is typically granted
on an emergency basis, sometimes without notice to the opposing party (ex parte), and often before
the defendant has had an opportunity to respond. It is meant to preserve the status quo until a full
hearing can be held. Because of its urgent nature, a TRO is short-lived and governed by stricter
timing rules under Rule 65(b) of the Federal Rules of Civil Procedure.

A Preliminary Injunction, on the other hand, comes only after notice to the opposing party
and typically after a comprehensive evidentiary hearing. The parties can submit fuller briefing,
offer witness testimony, and present robust legal arguments. As a result, the Preliminary Injunction
carries more weight and lasts longer remaining in effect until the court enters a final judgment on
the merits or dissolves the injunction. See Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per
curiam) (emphasized the standards of review applicable to TROs and Preliminary
Injunctions); PCI Transp. Inc. v. Fort Worth & W. R.R. Co., 418 F.3d 535, 545 (Sth Cir. 2005)
(addressing appellate standards when a TRO blends into a Preliminary Injunction ruling).
See Texas v. United States, 809 F.3d 134, 150-55 (5th Cir. 2015) (affirming nationwide preliminary

injunction following earlier TRO). This Court’s ruling today is limited to the TRO request.

Regardless of the ontcome here, the parties have announced they will return before this
Court for a full evidentiary hearing on the Motion for Preliminary Injunction.

? Rule 65(b)(1) of the Federal Rules of Civil Procedure allows a court to issue a temporary restraining order without
notice to the opposing party only when “specific facts in an affidavit or a verified complaint clearly show that
immediate and irreparable injury, loss, or damage will result ... before the adverse party can be heard in opposition,”
and when “the movant’s attorney certifies in writing any efforts made to give notice and the reasons why it should
not be required.” Fed. R. Civ. P. 65(b)(1)(A}B).
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As mentioned above, Plaintiff's request a TRO to enjoin enforcement of only certain
provisions of HB 1193 codified April 17, 2025. These provisions, say Plaintiffs, violate the First?
and Fourteenth* Amendments to the United States Constitution. Having reviewed the briefing,
amended complaint, the law, and the record, this Court grants the requested temporary restraining
order for the reasons set forth below.

1 BACKGROUND

HB 1193 imposes sweeping restrictions on Mississippi public institutions of education,
prohibiting speech and programming related to so-called "divisive concepts." Plaintiffs challenge
the following provisions:

« Section 3(b): Bans engagement with "divisive concepts" as defined in Sections 2(d) and

2(e);

¢ Section 3(f): Prohibits maintenance of programs that promote diversity, equity, inclusion

(“DEI”), or endorse concepts such as gender identity and gender theory;

« Section 3(g): Prohibits requiring any DEI training as a condition of enrollment,
employment, or contracting;

e Section 3(i): Prohibits any required activity that increases "awareness or understanding of
issues related to race, sex, color, gender identity, sexual orientation or national origin."

The statute threatens withdrawal of all state funding after two violations (Section 8) and

requires institutions to implement complaint and investigative mechanisms (Section 7).

3 The First Amendment provides, in relevant part, that "Congress shall make no law ... abridging the freedom of
speech, or of the press; or the right of the people peaceably to assemble." U.S. Const. amend. I

“The Fourteenth Amendment provides that “No State shall make or enforce any law which shall abridge the
privileges or immunities of citizens of the United States; nor shall any State deprive any person of life, liberty, or
property, without due process of law; nor deny to any person within its jurisdiction the equal protection of the laws."
U.S. Const. amend. XIV.
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Plaintiffs include faculty, students, a librarian, student organizations, and the parent of

public school children*, who all allege imminent constitutional harm from these provisions.
IL JURISDICTION

This Court has subject matter jurisdiction under 28 U.S.C. § 1331°, as Plaintiffs raise
constitutional claims under 42 U.S.C. § 1983’. Defendants argue that this Court lacks jurisdiction
under the Eleventh Amendment® and Standing Doctrine’. At this preliminary stage, though, the
Court finds that at least some claims fall within the exception to Eleventh Amendment immunity
recognized in Ex parte Young, 209 U.S. 123 (1908), and that Plaintiffs have alleged sufficient
imminent harm to satisfy Article III standing. See Speech First, Inc. v. Fenves, 979 F.3d 319, 330

(Sth Cir. 2020).

A. Standing
To establish standing, a plaintiff must demonstrate: (1) an injury in fact that is concrete,

particularized, and imminent; (2) that the injury is fairly traceable to the challenged conduct of the

5 See footnote 1.

® Section 1331 provides that “The district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States.” 28 U.S.C, § 1331

? Section 1983 provides, in relevant part: “Every person who, under color of any statute, ordinance, regulation,
custom, or usage, of any State ... subjects, or causes to be subjected, any citizen of the United States ... to the
deprivation of any rights, privileges, or immunities secured by the Constitution and laws, shall be liable to the party
injured.” 42 U.S.C, § 1983.

8 The Eleventh Amendment provides that The Judicial power of the United States shall not be construed to extend
to any suit in law or equity, commenced or prosecuted against one of the United States by Citizens of another State,
or by Citizens or Subjects of any Foreign State." U.S. Const. amend. XI.

The Standing Doctrine dictates that a plaintiff must demonstrate (1) an injury in fact that is concrete, particularized,
and imminent; (2) that the injury is fairly traceable to the challenged conduct of the defendant; and (3) that the injury
is likely to be redressed by a favorable judicial decision. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).
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defendant; and (3) that the injury is likely to be redressed by a favorable judicial decision. Lujan
v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).

Here, Plaintiffs include educators, students, student organizations, and a parent!®, all of
whom allege direct harm from the enactment and expected enforcement of HB 1193. Faculty
members attest that the law has chilled their classroom discussions and curtailed their ability to
engage with students on matters of race, gender, and identity. Students and student groups claim
that their programming and expressive activities have been disrupted or canceled in anticipation
of institutional discipline. These “harms”, say Plaintiffs, are not speculative harms; they are
ongoing and directly tied to HB 1193’s enforcement framework.

The First Amended Complaint contends that these harms are traceable to the conduct of
the named state officials, who oversee the institutions subject to HB 1193 and are empowered to
initiate investigations, enforce compliance, and recommend withdrawal of funding under the Act.
Furthermore, the relief sought - temporary and permanent injunctions, say Plaintiffs, would
redress the harm by halting the enforcement of the challenged provisions.

Accordingly, this Court concludes that Plaintiffs have Article III standing. See Speech
First, Inc. v. Fenves, 979 F.3d 319, 330 (5th Cir. 2020) (holding that chilled speech caused by a
credible threat of enforcement establishes standing in the First Amendment context).

I. LEGALSTANDARD

To obtain a temporary restraining order, Plaintiffs must demonstrate, by a preponderance
of the evidence:

1. A substantial likelihood of success on the merits;

2. A substantial threat of irreparable injury absent the injunction;

See footnote 1.
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3. That the threatened injury outweighs any harm to Defendants;

4, That the injunction will not disserve the public interest.
See Big Tyme Invs., LLC v, Edwards, 985 F.3d 456, 463 (5th Cir. 2021); Clark v. Prichard, 812
F.2d 991, 993 (Sth Cir. 1987). The Fifth Circuit has held, though, that “none of the four
requirements has a fixed quantitative value; rather, a sliding scale is utilized, which takes into
account the intensity of each in a given calculus.” See Janvey v. Alguire, 647 F.3d 585, 595 (5th

Cir. 2011).

IV. ANALYSIS
A. Likelihood of Success on the Merits
Plaintiffs argue that HB 1193 imposes content- and viewpoint-based restrictions on
protected speech, violates the right of students to receive information, and is unconstitutionally
vague.
1. First Amendment (Academic Freedom and Viewpoint Discrimination)

The Supreme Court has long recognized the "transcendent value of speech in the university
setting." Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967). HB 1193's restrictions target
specific viewpoints allegedly disfavored by the State—+.g., affirmative action, gender identity,
collective responsibility—while permitting opposing viewpoints. This is the essence of
unconstitutional viewpoint discrimination. Rosenberger v. Rector & Visitors of Univ. of Va., 515
U.S. 819, 829 (1995); Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 511 (1969).
The Fifth Circuit likewise has recognized that faculty and students retain First Amendment
protections. Bazaar v. Fortune, 476 F.2d 570, 574-75 (Sth Cir. 1973); In re Dinnan, 661 F.2d 426,

430 (5th Cir. 1981).
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2. Overbreadth and Vagueness

The statute prohibits the dissemination, endorsement, or engagement with “divisive
concepts” and “gender identity”. These terms are not given precise definitions within the statutory
text, nor, according to Plaintiffs, do they have established legal meanings that would guide
educators, administrators, or students in conforming their conduct.

For example, the law forbids the promotion of "divisive concepts" without clearly
identifying what constitutes "promotion," or which views are considered “divisive.” It bans
programming that "increases awareness or understanding of race, sex, color, gender identity,
sexual orientation, or national origin,” which, say Plaintiffs, could encompass virtually all
educational material in subjects such as history, sociology, gender studies, or literature. This,
continue Plaintiffs, leaves institutional actors with no objective standards, fostering arbitrary
enforcement and pervasive self-censorship. Such ambiguity, add Plaintiffs, not only deprives
individuals of fair notice, but also empowers enforcers to apply the statute selectively. As the
Supreme Court has made clear, "[A] law fails to meet the requirements of the Due Process Clause
if it is so vague and standardless that it leaves the public uncertain as to the conduct it
prohibits." Giaccio v. Pennsylvania, 382 U.S. 399, 402-03 (1966). The chilling effect is
compounded in the academic context, where the fear of losing state funding compels institutions
to over-correct in ways that suppress constitutionally protected speech censorship.

3. Strict Scrutiny and Lack of Narrow Tailoring

The application of strict scrutiny to laws that restrict speech is grounded in the principle
that the government must not suppress ideas simply because they are controversial or unpopular.

See RAV. v. City of St. Paul, 505 U.S. 377, 382 (1992). Under this standard, the burden rests
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squarely on the government to demonstrate both a compelling state interest and the narrow
tailoring of the statute to that interest.

HB 1193 allegedly fails both prongs of this test. At this stage, the government has not
advanced any interest of the highest order. Claims of ensuring ideological neutrality or avoiding
divisiveness are not sufficient to justify suppressing protected speech. See Keyishian v. Bd. of
Regents, 385 U.S. 589, 603 (1967) (“The Nation’s future depends upon leaders trained through
wide exposure to that robust exchange of ideas which discovers truth out of a multitude of
tongues.”). In Conant v. Walters, 309 F.3d 629, 637-38 (9th Cir. 2002), the court emphasized that
preserving the integrity of government messaging was not enough to silence individual speakers
or programs.

Secondly, even if the State argues and comes forth with compelling interests, the State
further must show that HB 1193’s prohibitions are narrowly tailored. The Act, accuse Plaintiffs,
is riddled with vague terminology and sweeping mandates that fail to distinguish between
permissible instruction and alleged indoctrination. Terms like “divisive concepts” are undefined,
granting enforcers unbounded discretion. See Grayned v. City of Rockford, 408 U.S. 104, 108-09
(1972) (laws must give people of ordinary intelligence a reasonable opportunity to know what is
prohibited).

The law’s enforcement mechanism—withdrawal of funds, dissolution of student
organizations, and employment consequences—exacerbates its chilling effect, emphasize
Plaintiffs. The Supreme Court repeatedly has held that the government may not condition access
to public benefits on the relinquishment of constitutional rights. See Perry v. Sindermann, 408

US. 593, 597 (1972).
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In sum, rounding out their antagonism to the law, Plaintiffs declare that HB 1193 seemingly
reflects neither precision nor restraint. Thus, in a metaphor of Plaintiff's position, it appears to be
a legislative sledgehammer deployed where a scalpel might have sufficed and, seemingly, cannot
survive in its blatantly offensive posture the constitutional scrutiny that applies to content-based
restrictions on speech.

Accordingly, Plaintiffs say they have shown a substantial likelihood of success.
B. Irreparable Harm

Deprivation of First Amendment rights—even for minimal periods of time—constitutes
irreparable harm. Elrod v. Burns, 427 U.S. 347, 373 (1976); Deerfield Med. Ctr. v. City of Deerfield
Beach, 661 F.2d 328, 338 (5th Cir. 1981). The First Amended Complaint illustrates, say Plaintiffs,
concrete, ongoing injuries that go beyond abstract fears.. Student organizations including
LGBTQ+ and Black student unions have had programming curtailed out of concern for
institutional sanction.

Though HB 1193 became law in April 2025, the confusion it has caused is not static; it is
compounding. Institutions have spent the intervening months attempting to interpret and
implement the statute, often erring on the side of caution by canceling or defunding programming
that arguably falls within its prohibitions. This prolonged period of uncertainty has deepened the
chilling effect. As the statute’s enforcement provisions—particularly the threat of funding
withdrawal after two violations—have become more imminent, the pace and breadth of
programmatic shutdowns have accelerated. The impact is not hypothetical.

This Court finds that each day the statute remains unclarified, undefined, and under a threat
of open interpretation, exacerbates the suppression of protected speech. In the Fifth Circuit, as

elsewhere, such injuries are presumed irreparable and weigh heavily in favor of preliminary relief.

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C. Balance of Harms

The balance of equities tilts in Plaintiffs’ favor. Plaintiffs may face immediate and serious
injuries: silencing of classroom speech, the curtailment of expressive activities by registered
student organizations, and punitive consequences for faculty and students who engage in possibly
protected expression.

In contrast, under a TRO, Defendants face only a temporary pause in enforcement of
provisions that raise serious constitutional questions. This is not an injunction against the entire
statutory scheme, but a focused restraint against those sections that may impinge on
constitutionally protected activity. Moreover, Defendants’ interest in enforcing the law cannot
outweigh Plaintiffs’ right to be free from unconstitutional censorship. See Legend Night Club v.
Miller, 637 F.3d 291, 303 (4th Cir. 2011) (state suffers no harm from an injunction that prevents

enforcement of an unconstitutional statute).

Plaintiffs submitted multiple affidavits outlining the challenged harms already underway
and the claimed imminent injury that will follow continued enforcement of HB 1193. For

example:

¢ Ryan Langley, President of “Fostering LGBTQ+ Advocacy, Resources, and
Environments (FLARE)” at Mississippi State University, describes how administrators
cited HB 1193 to remove FLARE from its diversity center home, cut its funding stream,

and restructure the organization to prevent potential violations of the Act. Langley attests

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that FLARE members are censoring their own speech out of fear of punishment and have
canceled or altered programming!!.

Elizabeth Dawn Zimmerer, a librarian at Hinds Community College, attests that
provisions of HB 1193 already have chilled her ability to curate library content and book
displays. She is uncertain whether promoting material for events like Black History
Month or recommending titles related to race, gender, or identity violates the Act.
Zimmerer fears job consequences and disciplinary action merely for performing core

duties !7,

The submitted affidavits seek to establish that HB 1193’s allegedly vague and punitive provisions

have triggered immediate harm in the form of lost funding, as well as disrupting programming,

silencing speech, and altering institutional structure. These do not sound in speculative injuries;

but possibly direct and ongoing consequences of the Act’s enforcement. Additional affidavits

reinforce this conclusion:

The Organization Women in Science and Engineering declares that due to the vague and
unclear language of the law, it is unable to determine “what it can and cannot do in the
future” and has suspended its annual fundraising efforts for its Fall women’s conference,
due to the uncertainty regarding the possibility of hosting such a conference.

Clifford Boler, a former graduate student affiliated with the University of Southern

Mississippi (USM) attests that he discontinued his graduate studies in library and

" Declaration of Ryan Langley, President of Fostering LGBTQ+ Advocacy, Resources, and Environments (FLARE)
at Mississippi State University, Doc. 11-11.

" Declaration of Elizabeth Dawn Zimmerer, Hinds Community College Librarian, Doc. 11-12.

"3 Declaration of Brandy Williams, Director of Student Development at Tougaloo College, Doc. 11-1.

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information sciences at USM because the language of HB 1193 conflicts with certain
ethical codes of the American Library Association. This conflict, says Boler, led to his
unenrollment at USM, and his forthcoming application to enroll in a different

University’s Library and Information Sciences program '*.

In this Court’s eye, these accounts appear to reflect a broad, chilling effect across public
institutions and community organizations. The affidavits detail not only imminent harm, but a
possible widespread suppression of speech, programming, and institutional function. The
evidence, at this stage, demonstrates a clear and ongoing deprivation of constitutional rights in a
manner not compensable by money damages—thus warranting injunctive relief.

Dz. Public Interest

It is always in the public interest to prevent the violation of a party’s constitutional rights.
Tex. Democratic Party v. Abbott, 961 F.3d 389, 411 (Sth Cir. 2020); Opulent Life Church v. City of
Holly Springs, 697 F.3d 279, 298 (Sth Cir. 2012). Taking Plaintiffs’ proof of harm at this
preliminary stage as shown, the enforcement of HB 1193 threatens not only individual rights but
the very fabric of academic institutions that serve as incubators for ideas and discourse.
Universities are places where students learn to grapple with difficult concepts and instructors are
free to explore scholarly ideas. The public benefits from robust academic freedom and the cross-
pollination of diverse viewpoints. Suppressing constitutional speech through vague prohibitions
and the specter of financial retribution does not serve the public good—it undermines it. An

overbroad, constitutionally borderless law should be the target of a well-aimed injunction to

"4 Declaration of Clifford Boler, former University of Southern Mississippi graduate student, Doc. 11-8

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promote, rather than impair, the interests of Mississippi citizens, the integrity of its institutions,
and the constitutional principles on which this republic stands.
V. CONCLUSION

IT IS HEREBY ORDERED that Plaintiffs' Motion for a Temporary Restraining Order is
GRANTED. The State of Mississippi and the above-named Defendants are temporarily
ENJOINED from enforcing Sections 3(b), 3(f), 3(g), and 3(i) of HB 1193 pending further order
of this Court.

This Temporary Restraining Order shall remain in effect until this Court renders its ruling
on the Plaintiffs’ Motion for Preliminary Injunction, unless extended for good cause.

VI. FURTHER PROCEEDINGS

Since this Court’s hearing on Plaintiffs’ Motion for Temporary Restraining Order (TRO)
on June 24, 2025, this Court has received from both sides supplemental filings that aim to
amplify the factual record and legal arguments in this matter.

On June 30, 2025, Plaintiffs filed a stipulation of dismissal as to several institutional
defendants, thereby dismissing the Board of Trustees of State Institutions of Higher Learning,
the Mississippi Community College Board, the Mississippi State Board of Education, and the
Mississippi Charter School Authorizer Board. [ECF No. 32].

Thereafter, on July 2, 2025, the remaining Non-[HL Defendants—along with Lynn Fitch,
in her official capacity as Attorney General of Mississippi—filed a Motion to Dismiss the
Amended Complaint for Lack of Jurisdiction [ECF No. 39]; a Response in Opposition to Plaintiffs’
request for preliminary injunctive relief [ECF No. 42]; and five supporting declarations.

Plaintiffs submitted rebuttal briefs on July 11, 2025 [ECF No. 11] and July 16, 2025

[ECF Nos. 48, 49, 50], completing the briefing on the preliminary injunction motion.

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As noted above, a TRO is an emergency, short-term remedy granted to preserve the status
quo pending a fuller adversarial hearing. The June 24 hearing on the TRO proceeded without live
witness testimony, consistent with that limited purpose. A TRO is not a final adjudication; it may
be modified or withdrawn upon the ae of a preliminary injunction, or after findings
inconsistent with such at a judicial adjudication on the merits.

A preliminary injunction, by contrast, demands a more searching judicial inquiry, typically
involving live testimony, cross-examination, and formal evidentiary findings. Looking backwards,
at the June 24" hearing, and its submissions and arguments, this Court was persuaded that a TRO
should issue. The above Order reflects as much. The parties now have moved this litigation beyond
the TRO stage, when the Court reasoned that, on the abbreviated information it had at that stage,
Plainitffs’ motion for a TRO had to be granted, and effectuated until the Court could hold a hearing
on a preliminary injunction. See Sierra Club v. FDIC, 992 F.2d 545, 551 (5th Cir. 1993).

The Court now directs the parties to appear at a hearing on the Motion for a Preliminary
Injunction on Wednesday, July 23, 2025, at 9:30 A.M. At that hearing, the Court expects to
receive live testimony and conduct a more rigorous examination of the constitutional and
jurisdictional issues raised. The parties should also be prepared to argue all other motions currently

pending before this Court.

SO ORDERED AND ADJUDGED this the 20th day of July , 2025.

isfHENRY T. WINGATE
UNITED STATES DISTRICT COURT JUDGE

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